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MONTE BEACH and MAUREEN BEACH,

 

 

CaSe 05-22372 Filed 01/11/06 DOC 104 l F|LED

JAN 'l 1 2006
UNITED sTATEs BANKRUPTCY co RT

 

 

 

TED sTATEs BANKnuP ,
EASTERN DISTRICT OF CALIFO TERN D|STR|CT OF C;<EK:(CJFO?H?/;r

In re: Case No. 05-22372-€-7

DC NOS. F&F-l
F&F-Z

F&F-3
Debtor(s).

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FINDINGS OF FACT AND CONCLUSIONS OF LAW ON MOTIONS TO AVOID LIEN

Trial was held on January lO, 2006, on the debtors’ motion to
avoid three judicial liens that are alleged to impair their
homestead exemption in their residence. These findings of fact and
conclusions of law are rendered pursuant to Federal Rule of Civil
Procedure 52, as incorporated by Federal Rules of Bankruptcy

Procedure 7052 and 90l4, in this core proceeding.

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The debtors, Monte Beach and Maureen Beach, own real property
commonly known as 567 Cochise Circle, South Lake Tahoe, California.

On the date of the filing of the petition in this case, March
4, 2005, there was a consensual note and deed of trust in the
amount of $277,579.39 that constituted a lien on the property.

In addition, there was a tax lien in the amount of $7,872.22.

The debtors claimed an exemption under California Code of ,l
Civil procedure § 704.730(a)(2), which permits an exemption up to
$75,000.

There are three judgment liens against the residence, which

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were recorded in the following order of priority:

 

 

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CaSe 05-22372 Filed 01/11/06 DOC 104

(l) $5,303.52 (JT Roadrunner);

(2) $25,893.77 (Lennox Industries); and

(3) $l4,4l5 (South Tahoe Plumbing).
The sums stated are the sums owed as of the date of the filing of
the case on March 4, 2005.

The value of the residence as of the date of the filing of the

petition was $390,000.

CONCLUSIONS OF LAW

The trial of the contested matter was a straightforward
“battle of the experts,” in which two appraisers, who have
experience appraising residences in South Lake Tahoe, opined as to
value and explained why their version should be accepted over that
of the opposing appraiser.

The debtors’ expert contended the value of the property in the
relevant date was $345,000. The expert presented by Lennox
Industries contended the value of the property was $400,000.

The court is required to make its on independent determination
of value based upon the evidence and is not restricted to accepting
one of the two values that is presented by the parties.

After listening carefully to the testimony, the court is ,,
persuaded that the expert engaged by Lennox Industries presented
the more persuasive case regarding value. Nevertheless, the court
is also persuaded that the estimate of $400,000 should be adjusted
downward to reflect some of the matters raised by the debtors.

The location of the property actually abutting a national
forest, as opposed to abutting building lots that are in public

ownership, is, the court is persuaded, an important feature of the

 

 

 

 

CaSe 05-22372 Filed 01/11/06 DOC 104

property. In addition, when one examines the “comparable” sales,
it is appropriate that there be an adjustment to reflect a
measurable rate of increase in value that was occurring within the
Tahoe area market leading up to March 4, 2005, which rate was an
annualized rate of approximately 18 percent. In addition, the
court believes it appropriate to use comparables where the alleged,
comparable has a feature, such as a garage, that is easily
quantifiable for purposes of adjustment. The court is skeptical
about the viability of the $255,000 comparable that was used by the
debtors’ appraiser.

In sum, the court is persuaded that the value of the residence
as of March 4, 2005, was $390,000.

As a consequence of the determination that the value is
$390,000, the judgment lien in favor of South Tahoe Plumbing, Inc.,
will be avoided in its entirety. The judgment lien in favor of
Lennox Industries, Inc., to the extent it exceeds $24,244.87, will
be avoided. The judgment lien in favor of JT Roadrunner will not
be avoided.

Appropriate orders will issue.

Dated: January ll, 2006.

 

 

UNITED sTM/E ‘BANKRUPTCY JUDGE

 

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CaSe 05-22372 Filed 01/11/06 DOC 104

CERTIFICATE OF SERVICE

On the date indicated below, l served a true and correct
Copy(ies) Of the attached document by placing said copy(ies) in a
postage paid envelope addressed to the person(s) hereinafter listed
and by depositing said envelope in the United States mail or by
placing said copy(ies) into an interoffice delivery receptacle
located in the Clerk’s Office.

Gary Ray Fraley
2862 Arden Way #205
Sacrarnento, CA 95825

Candy Dahl
Dahl & Dahl

2304 N Street
Sacramento, CA 95816-5716

Dated: \.\%OW

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